Case 2:23-cv-09266-MRW Document 16 Filed 01/19/24 Page 1 of 1 Page ID #:47




 1   P. Kristofer Strojnik, SBN 242728
     pstrojnik@strojniklaw.com
 2   Esplanade Center III, Suite 700
 3   2415 East Camelback Road
     Phoenix, Arizona 85016
 4   415-450-0100 (tel.)
 5
     Attorneys for Plaintiff
 6
                               UNITED STATES DISTRICT COURT
 7
 8                         CENTRAL DISTRICT OF CALIFORNIA

 9   THERESA BROOKE, a married woman
     dealing with her sole and separate claim,       Case No: 2:23-cv-9266
10
11                        Plaintiff,                 JOINT MOTION TO DISMISS WITH
                                                     PREJUDICE
12   vs.
13
     KAVA HOLDINGS LLC, a Delaware
14   limited liability company,
15
                           Defendant.
16
            The parties jointly move for an Order dismissing the case with prejudice, with
17
     each party to bear her/its own attorneys’ fees, costs and expenses. A proposed form of
18
     Order is attached.
19
20
            RESPECTFULLY SUBMITTED this 19th day of January, 2024.
21
22                                               /s/ P. Kristofer Strojnik
                                                 P. Kristofer Strojnik
23                                               Attorneys for Plaintiff
24
                                                 /s/ Peter B. Maretz
25                                               Peter B. Maretz
                                                 Attorneys for Defendant
26
27
28
